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                                    Agreement - ChanBond

        This Agreement (this “Agreement”), is made as of October 27, 2015 (the “Effective
Date”), by and among Deirdre Leane, an individual with an address of 2525 Carlisle St., Suite
439, Dallas, Texas 75201 (“Seller”), ChanBond, LLC, a Delaware limited liability company, of
2633 McKinneyy Ave.,, Suite 130-501, Dallas, Texas 75204 (“ChanBond”) and UnifiedOnline,
Inc., a Delaware corporation, of 4126 Leonard Drive, Fairfax, Virginia 22030 (“Purchaser”).
The parties to this Agreement shall be referred to collectively herein as the “Parties” and
separately as a “Party”.

                                         W i t n e s s e t h:

        WHEREAS, Seller owns 100% of the limited liability company membership interests
(the “Interests”) of ChanBond;

       WHEREAS, Purchaser wishes to acquire Seller’s entire interest in ChanBond, following
which Purchaser will become the sole interest holder of ChanBond, all according to the
provisions set forth herein below;

        NOW, THEREFORE, in consideration of the mutual promises and covenants set forth
herein, the Parties hereto hereby agree as follows:

1.      Definitions

        1.1    “Affiliate” means, with respect to a Party, any Person in any country that directly
or indirectly Controls, is Controlled by or is under common Control with such Party. For the
purposes of this Agreement, the term “Control” of a Person means ownership, of record or
beneficially, directly or through other Persons, of fifty percent (50%) or more of the voting
equity of such Person or, in the case of a non-corporate Person, equivalent interests.

       1.2    “Collateral Agreements”
                             g             means all such concurrent or subsequent
                                                                               q    agreements,
                                                                                     g         ,
documents and instruments,, as amended,, supplemented,
                                              pp         , or otherwise modified in accordance
with the terms hereof or thereof,, including
                                           g without limitation,, the License Agreement,
                                                                               g         the Pay
Proceeds Agreement, the Common Interest Agreement and the Promissory Note.

     1.3    “Contract Rights and Obligations” means the rights and obligation assigned to
ChanBond under the contracts (“Contracts”) listed on Schedule 1.3.

       1.4      “Entity” means any corporation, partnership, limited liability company,
association, joint stock company, trust, joint venture, unincorporated organization, Governmental
Body (as defined below) or any other legal entity.

        1.5     “Governmental Body” means any (i) U.S. federal, state, county, municipal, city,
town village, district, or other jurisdiction or government of any nature; (ii) governmental or
quasi-governmental authority of any nature (including any governmental agency, branch,
department, official, or other entity and any court or other tribunal); or (iii) body exercising, or
entitled or purporting to exercise, any administrative, executive, judicial, legislative, police,
regulatory, or taxing authority or power of any nature.



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         1.6     “Intellectual Property” means all domestic or foreign rights in, to and
concerning ChanBond’s: (i) patents, patent applications, trademarks, service marks, brand
names, certification marks, collective marks, d/b/a’s, trade dress, logos, symbols, trade names,
assumed names, fictitious names, corporate names and other indications or indicia of origin,
including translations, adaptations, derivations, modifications, combinations and renewals
thereof; (ii) published and unpublished works of authorship, whether copyrightable or not
(including databases and other compilations of data or information), copyrights therein and
thereto, moral rights, and rights equivalent thereto, including but not limited to, the rights of
attribution, assignation and integrity; (iii) trade secrets, confidential and/or proprietary
information (including ideas, research and development, know-how, formulas, compositions,
manufacturing and production processes and techniques, technical data, schematics, designs,
discoveries, drawings, prototypes, specifications, hardware configurations, customer and supplier
lists, financial information, pricing and cost information, financial projections, and business and
marketing methods plans and proposals), collectively “Trade Secrets”; (iv) computer software,
including programs, applications, source and object code, data bases, data, models, algorithms,
flowcharts, tables and documentation related to the foregoing; (v) other similar tangible or
intangible intellectual property or proprietary rights, information and technology and copies and
tangible embodiments thereof (in whatever form or medium); (vi) all applications to register,
registrations, restorations, reversions and renewals or extensions of the foregoing; (vii) internet
domain names; and (viii) all the goodwill associated with each of the foregoing and symbolized
thereby; and (ix) all other intellectual property or proprietary rights and claims or causes of
action arising out of or related to any infringement, misappropriation or other violation of any of
the foregoing, including rights to recover for past, present and future violations thereof.

       1.7     “Lien” means any mortgage, pledge, security interest, encumbrance, lien, charge
or debt of any kind, any trust, any filing or agreement to grant, deposit or file a pledge or
financing statement as debtor under applicable law, any subordination arrangement in favor of
any Person, or any other Third Party right.

        1.8     “Person” means any individual or Entity.

         1.9      “Proceeding”  g means anyy claim,, suit,, litigation,
                                                                g     , arbitration,, mediation,, hearing,
                                                                                                        g,
audit,, charge,
             g , inquiry,
                   q y, investigation,
                                  g      , ggovernmental investigation,
                                                                 g      , regulatory
                                                                            g      y pproceeding
                                                                                               g or other
pproceeding g or action of any     y nature ((whether civil,, criminal,, legislative,
                                                                               g        , administrative,,
 regulatory,
   g       y, pprosecutorial,, investigative,
                                      g      , or informal)) commenced,, brought,
                                                                               g , conducted,, or known
 to be threatened,, or heard by    y or before,, or otherwise involving, any Governmental Body,
 arbitrator or mediator or similar person or body.

        1.10    “Third Party” means any Person other than a Party or its Affiliates.

2.      Sale and Purchase of Interests

        Subject to the terms and conditions hereof, at the Closing, Seller shall sell, assign,
transfer, convey and deliver to Purchaser ChanBond and Purchaser shall purchase and accept the
assignment, transfer conveyance and delivery of ChanBond from the Seller.

        Closing of Sale and Purchase of Interests; Covenants of Purchaser



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       2.1    Closing. The sale, assignment, transfer and delivery of ChanBond by the Seller
and the purchase thereof by the Purchaser, shall take place at a closing, to be held remotely via
the exchange of documents and signatures within one business day following the execution of
this Agreement (the “Closing” and the “Closing Date,” respectively).

      2.2     Transactions at Closing. At the Closing, the following transactions shall occur,
which transactions shall be deemed to take place simultaneously and no transaction shall be
deemed to have been completed or any document delivered until all such transactions have been
completed and all required documents delivered:

              2.2.1 The Seller shall duly execute an interest assignment deed in the form
attached hereto as Schedule 2.2.1 (the “Transfer Deed”) and shall deliver their respective
Transfer Deed to Purchaser;

              2.2.2 At Closing,
                              g, ChanBond shall appoint
                                                    pp     William R. Carter,, Jr. as sole
manager
     g ((“Manager”)
                 g ) and thereafter Manager shall have sole and exclusive authority over the
business of ChanBond.

               2.2.3 Purchaser shall deliver to the Seller copies of resolutions of its Board of
Directors in the form attached hereto as Schedule 2.2.3, approving, inter alia, the transactions
contemplated hereunder and the issuance of the Shares (as defined below) by Purchaser to Seller.

                2.2.4 The Collateral Agreements shall have been executed and delivered by the
respective parties thereto.

               2.2.5 Purchaser shall deliver to the Seller a validly executed share certificate for
the Shares (as defined below) issuable in the name of the Seller in such amounts as shall be
directed by Seller not less than 72 hours after the Closing.

              2.2.6 Purchaser shall deliver to Seller evidence that each Required Approval (as
defined below) has been obtained.

              2.2.7 Seller, ChanBond and Purchaser shall have entered into the Common
Interest Agreement, in the form attached hereto as Schedule 2.2.7.

                2.2.8 Purchaser shall deliver to Seller the Promissory Note (as defined below),
in the form attached hereto as Schedule 2.2.8.

        2.3     Conditions to Closing. The obligations of each Party to consummate the
transactions contemplated hereby shall be subject to the satisfaction at or prior to the Closing of
the following conditions, any of which may be waived in writing by the Party entitled to the
benefit thereof, in whole or in part, to the extent permitted by the applicable law:

               2.3.1 No temporary restraining order, preliminary or permanent injunction or
other order (whether temporary, preliminary or permanent) issued by any court of competent
jurisdiction, or other legal restraint or prohibition shall be in effect which prevents the
consummation of the transactions contemplated herein, nor shall any proceeding brought by any
Governmental Body seeking any of the foregoing be pending, and there shall not be any action


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taken, or any law, regulation or order enacted, entered, enforced or deemed applicable to the
transactions contemplated herein illegal.

               2.3.2 The representations and warranties of the Seller and Purchaser contained
herein shall be true and correct in all material respects on and as of the Closing Date, with the
same force and effect as if made on and as of the Closing Date, except for those (i)
representations and warranties that are qualified by materiality, which representations and
warranties shall be true and correct in all respects and (ii) representations and warranties which
address matters only as of a particular date, which representations and warranties shall be true
and correct on and as of such particular date.

                2.3.3 Each Party shall have performed or complied in all material respects with
all agreements and covenants required by this Agreement and the Collateral Agreements
ancillary hereto (collectively, the “Transaction Documents”) to be performed or complied with
by it on or prior to the Closing Date.

               2.3.4 Each Party shall have received evidence, in form and substance reasonably
satisfactory to it, that any and all approvals of Governmental Bodies and other Third Parties
required to have been obtained by a Party to consummate the transactions under the Transaction
Documents, if any, have been obtained (each a “Required Approval”).

        2.4     Covenant of Purchaser. Promptly following the Closing, Purchaser shall (a)
reimburse Seller for all of their costs and expenses (including reasonable attorneys’ fees)
incurred by Seller in connection with the consummation of the transactions contemplated by this
Agreement and (b) file with the relevant Governmental Bodies all legally required reports in
respect of the transactions contemplated under the Transaction Documents, including, but not
limited to, the SEC Form 8-K and any Forms 3, Forms 4 or Schedule 13D’s.

3.      Consideration

        In consideration for the sale, assignment, transfer and delivery of ChanBond, Purchaser
shall pay to the Seller (as directed by Seller) the consideration, as follows:

        3.1    Cash Payment.
                        y      Five million U.S. Dollars (($5,000,000)
                                                             ,   ,   ) ppayable
                                                                          y      on or before
October 27,, 2020 ((the “Cash Payment”).
                                 y      ) The obligation
                                                   g     to make the Cash Payment
                                                                               y      shall be
evidenced by y Purchaser’s promissory note (the “Promissory Note”) in the form of Schedule
2.2.8 attached hereto; and

       3.2     Shares Payment. Forty-four million, seven hundred thousand (44,700,000) shares
of Purchaser’s Common Stock (the “Shares”) par value of $0.001 each.

        3.3    Release. Purchaser for itself, its respective Affiliates, employees, officers,
directors, representatives, predecessors in interest, successors and assigns (collectively, the
“Releasing Parties”) knowingly, voluntarily, and irrevocably releases, forever discharges and
covenants not to sue the Seller, and their respective Affiliates, employees, officers, directors,
representatives, predecessors in interest, successors and assigns (collectively, the “Released
Parties”) from and against any and all rights, claims, losses, lawsuits or causes of action (at law
or in equity), liabilities, duties, actions, demands, expenses, breaches of duty, damages,


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obligations, proceedings, debts, sums of money, accounts, reckonings, bonds, bills, covenants,
contracts, agreements, promises, judgments, and executions of whatever nature, type, kind,
description or character (each a “Claim”), whether known or unknown, suspected or
unsuspected, vested or contingent, past or present, that a Releasing Party ever had, now has or
hereafter can, shall or may have against or with respect to the Released Parties or any of them
for, upon or by reason of any matter, cause or thing related to or arising from any agreement to
which ChanBond is a party or by which it is bound prior to the Closing Date, which are listed on
Schedule 3.3 (the “Company Agreements”), except in the case that such Claim arises out of an
act of fraud, intentional misconduct or gross negligence on the part of one or more of the
Released Parties, as finally determined by a court of competent jurisdiction. For the avoidance
of doubt, the Company shall continue to be bound by the Company Agreements and neither the
Seller nor any of the Released Parties has or shall have any further obligation or liability under
the Company Agreement (other than confidentiality, common interest and other similar
provisions). The Releasing Parties hereby waive the benefits of any provisions of the law of any
state or territory of the United States, or principle of common law, which provides that a general
release does not extend to claims which the Releasing Parties do not know or suspect to exist in
its favor at the time of executing the release, which if known to it, may have materially affected
the release. It is the intention, understanding and agreement of the Releasing Parties to forever
discharge and release all known and unknown, present and future claims within the scope of the
releases set forth in this Agreement, provided, however, this Release shall not affect or limit any
Claims arising under this Agreement, for enforcement, gross negligence or willful misconduct,
fraud, misrepresentation, or similar matters.

4.      Representations and Warranties of the Seller

        The Seller hereby represents and warrants to Purchaser, and acknowledges that Purchaser
is entering into this Agreement in reliance thereon, as follows:

         4.1    The Seller is the sole lawful owners, beneficially and of record, of ChanBond and
ChanBond constitute all of the membership interests in ChanBond, and upon the consummation
of the transactions at the Closing, Purchaser will acquire from the Seller, good and marketable
title to ChanBond sold by it. There are no preemptive, anti-dilution or other participatory rights
of any other parties with respect to the transactions contemplated hereunder.

        4.2     The Seller has full and unrestricted legal right, power and authority to enter into
and perform their obligations under the Transaction Documents and to sell and transfer
ChanBond to Purchaser as provided herein. The Transaction Documents, when executed and
delivered by the Seller, shall constitute the valid and legally binding obligation of the Seller,
legally enforceable against the Seller in accordance with their respective terms, except as may be
limited by bankruptcy, insolvency or other similar laws affecting the enforcement of creditors’
rights in general and subject to general principles of equity (regardless of whether such
enforceability is considered in a proceeding in equity or at law).

        4.3     The Seller is acquiring the Shares for investment purposes only, for their own
account, and not for the benefit of others, nor with any view to, or in connection with any
distribution or public offering thereof within the meaning of the U.S. Securities Act of 1933 (the
“Securities Act”).


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        4.4    The Seller understands that the Shares have been registered under the Securities
Act. The Seller also acknowledges that the Shares will be restricted for sale for six (6) months
after the issuance. The Seller acknowledges that any certificates evidencing the Shares will
contain a legend to the foregoing effect.

        4.5      Seller has sufficient knowledge and expertise in business and financial matters so
as to enable it to analyze and evaluate the merits and risks of acquiring the Shares pursuant to the
terms of this Agreement and is able to bear the economic risk of such acquisition, including a
complete loss of its investment in the Shares.

        4.6    Seller acknowledges that it has made detailed inquiries concerning Purchaser and
its business, and that the officers of Purchaser have made available to the Seller any and all
written information which it has requested and have answered to the Seller’s satisfaction all
inquiries made by the Seller.

       4.7    The transactions provided for in this Agreement with respect to the Shares are not
part of any pre-existing plan or arrangement for, and there is no agreement or other
understanding with respect to, the distribution by the Seller of any of the Shares.

5.      Representations and Warranties of ChanBond

       5.1     ChanBond hereby represents and warrants to Purchaser, and acknowledges that
Purchaser is entering into this Agreement in reliance thereon, as follows:


               (a)     ChanBond is duly formed, validly existing and in good standing under the
        laws of the State of Delaware, and has full limited liability company power and authority
        to own, lease and operate its properties and assets and to conduct its business as now
        being conducted and as currently proposed to be conducted.

                (b)     As of the Closing Date, ChanBond is a party to the pending litigation
        identified in Schedule 5.1(b).

                (c)    As of the Closing Date the Contracts are in full force and effect and none
        of the respective parties to the Contracts are in breach of any material obligation under
        the Contracts.

               (d)     To ChanBond’s knowledge, ChanBond is not a party nor bound by any
        contracts, agreements, promises or commitments except the assignments related to the
        Contracts.

                (e)
                ( )    Other than the assignments related to the Contracts, ChanBond has no
        material assets. None of ChanBond’s employees will continue with ChanBond after the
        Closing. ChanBond’s bank accounts and the contents thereof will be transferred to
        Purchaser. Any amounts paid or payable to ChanBond (or any of its Affiliates) under
        licenses or other agreements or judgments entered into by or awarded to any Affiliates of
        ChanBond prior to the Closing Date, shall be retained as the exclusive property of such


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        Affiliates and after the Closing Date, ChanBond or any of its Affiliates will disclaim any
        interest therein.


6.      Representations and Warranties of Purchaser

       Purchaser, represents and warrants to the Seller and acknowledges that the Seller are
entering into this Agreement in reliance thereon as follows:

        6.1   Purchaser is duly organized, validly existing and in good standing under the laws
of Delaware and has full corporate power and authority to own, lease and operate its properties
and assets and to conduct its business as now being conducted and as currently proposed to be
conducted. The corporate governance documents of Purchaser (including but not limited to its
Certificate of Incorporation, Bylaws and any Voting Rights Agreements, Stockholders’
Agreements, Investors’ Rights Agreements and the like) as in effect on the date hereof have been
provided or made available to the Seller (the “Purchaser Governance Documents”).

        6.2     The Transaction Documents, when executed and delivered by Purchaser, shall
constitute the valid and legally binding obligation of Purchaser, respectively, legally enforceable
against Purchaser in accordance with their respective terms, except as may be limited by
bankruptcy, insolvency or other similar laws affecting the enforcement of creditors’ rights in
general and subject to general principles of equity (regardless of whether such enforceability is
considered in a proceeding in equity or at law).

        6.3     The authorized capital stock of Purchaser consists of 6,000,000,000 shares of
Common Stock and 10,000,000 shares of Convertible Preferred Stock, each having a par value
of USD $0.001, of which 912,897,537 shares are issued and outstanding (exclusive of shares
issued hereunder). Purchaser’s fully-diluted capital structure before and after Closing is set forth
in the capitalization table attached hereto as Schedule 6.3. All capital stock, preemptive rights,
rights of first refusal, rights of co-sale, convertible, exercisable or exchangeable securities,
outstanding warrants, options or other rights to subscribe for, purchase or acquire from Purchaser
or any of its subsidiaries or Affiliates any capital stock of the Purchaser and/or any of its
subsidiaries are set forth in detail on Schedule 6.3. Except for the transactions contemplated by
this Agreement and the current Purchaser Governance Documents, there are no Liens, options to
purchase, proxies, preemptive rights, convertible, exercisable or exchangeable securities,
outstanding warrants, options, voting trust and other voting agreements, calls, promises or
commitments of any kind and, Purchaser has no knowledge that any of the said stockholders
owns any other stock, options or any other rights to subscribe for, purchase or acquire any capital
stock of Purchaser from Purchaser or from each other.

        6.4     All issued and outstanding capital stock of Purchaser has been duly authorized,
and is validly issued and outstanding and fully-paid and non-assessable. The Shares, when
issued and allotted in accordance with this Agreement: (a) will be duly authorized, validly
issued, fully paid, non-assessable, and free of any preemptive rights, (b) will have the rights,
preferences, privileges, and restrictions set forth in Purchaser’s Certificate of Incorporation,
Certificate of Designation and By-laws, and (c) will be issued free and clear of any Liens of any
kind.


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         6.5    Purchaser is currently in material compliance with all applicable laws, including
securities laws. Purchaser has timely filed all forms and reports required to be filed with the
Securities Exchange Commission (the “SEC”) including, without limitation, all exhibits required
to be filed therewith, and has made available to the Seller true, complete and correct copies of all
of the same so filed (including any forms, reports and documents incorporated by reference
therein or filed after the date hereof, the “Purchaser SEC Reports”). For purposes hereof, such
Purchaser SEC Reports shall be deemed delivered to Seller via the SEC’s EDGAR database.
The Purchaser SEC Reports: (i) at the time filed complied (or will comply when filed, as the case
may be) in all material respects with the applicable requirements of the Securities Act and/or the
Securities Exchange Act of 1934, as amended (the “Exchange Act”) and the rules and
regulations promulgated thereunder, and with the Sarbanes-Oxley Act of 2002, and the rules and
regulations promulgated thereunder, in each case applicable to such Purchaser SEC Reports at
the time they were filed; and (ii) did not at the time they were filed (or, if later filed, amended or
superseded, then on the date of such later filing) contain any untrue statement of a material fact
or omit to state a material fact required to be stated therein or necessary in order to make the
statements contained therein, in the light of the circumstances under which they were made, not
misleading.

        6.6     Purchaser has timely filed (or has been deemed to have timely filed pursuant to
Rule 12b-25 under the Exchange Act) and made publicly available on the SEC’s EDGAR
system, and the Seller may rely upon, all certifications and statements required by (i) Rule 13a-
14 or Rule 15d-14 under the Exchange Act and (ii) Section 906 of the Sarbanes Oxley Act of
2002 with respect to any documents filed with the SEC. Since the most recent filing of such
certifications and statements, there have been no significant changes in Purchaser’s internal
control over financial reporting (as such term is defined in Rule 13a-15(f) under the Exchange
Act), or in other factors that could significantly affect its disclosure controls and procedures.

        6.7     The financial statements (including footnotes thereto) included in or incorporated
by reference into the Purchaser SEC Reports (the “Purchaser Financial Statements”) were
complete and correct in all material respects as of their respective filing dates, complied as to
form in all material respects with the Exchange Act and the applicable accounting requirements,
rules and regulations of the SEC promulgated thereunder as of their respective dates and have
been prepared in accordance with United States generally accepted accounting principles
(“GAAP”) applied on a consistent basis during the periods involved (except as otherwise noted
therein). The Purchaser Financial Statements fairly present the financial condition of Purchaser
as of the dates thereof and results of operations, cash flows and stockholders’ equity for the
periods referred to therein (subject, in the case of unaudited Purchaser Financial Statements, to
normal recurring year-end adjustments which were not and will not be material in amount).
Without limiting the generality of the foregoing, (i) no independent public accountant of
Purchaser has resigned or been dismissed as independent public accountant of Purchaser as a
result of or in connection with any disagreement with Purchaser on a matter of accounting
principles or practices, financial statement disclosure or auditing scope or procedure, (ii) no
executive officer of Purchaser has failed in any respect to make, without qualification, the
certifications required of him or her under Section 302 or 906 of the Sarbanes-Oxley Act with
respect to any form, report or schedule filed by Purchaser with the SEC since the enactment of
the Sarbanes-Oxley Act and (iii) no enforcement action has been initiated or, to the knowledge of
Purchaser, threatened against Purchaser by the SEC relating to disclosures contained in any


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Purchaser SEC Report. There has been no change in Purchaser’s accounting policies except as
described in the notes to the Purchaser Financial Statements.

        6.8     Purchaser is not in default and neither the execution and delivery of the
Transaction Documents nor compliance by Purchaser with the terms and provisions hereof and
thereof, will conflict with, or result in a breach or violation of, any of the terms, conditions and
provisions of: (i) the Purchaser Corporate Governance Documents, or (ii) any note, indenture,
mortgage, lease, agreement, contract, purchase order or other instrument, document or agreement
to which Purchaser is a party or by which it or any of its property is bound, or (iii) any law,
statute, ordinance, regulation, order, writ, injunction, decree, or judgment of any court or any
governmental department, commission, board, bureau, agency or instrumentality in any country
in which Purchaser conducts business, with the exception of those judgments listed Schedule
6.8. Such execution, delivery and compliance with the Transaction Documents will not (a) give
to others any rights, including rights of termination, cancellation or acceleration, in or with
respect to any agreement, contract or commitment referred to in this paragraph, or to any of the
properties of Purchaser, or (b) except for compliance with any applicable requirements under the
Securities Act, the Exchange Act and any requirements of the Over-the-Counter Bulletin Board
(“OTCBB”), no consent, approval, order or authorization of, or registration, declaration or filing
with any Governmental Body or any other Person is required by or with respect to Purchaser in
connection with the execution and delivery of the Transaction Documents or the consummation
of the transactions contemplated hereby and thereby, which consent or approval has not
heretofore been obtained or will be obtained by Closing. To the knowledge of Purchaser, no
third party is in default under any agreement, contract or other instrument or document to which
Purchaser is a party. To the knowledge of Purchaser, Purchaser is not a party to or bound by any
order, judgment, decree or award of any Governmental Body.

       6.9    No action, proceeding or governmental inquiry or investigation is pending or, to
the knowledge of Purchaser, threatened against Purchaser or any of its officers, directors or
employees (in their capacity as such or as shareholders, if applicable), or against any of
Purchaser’s properties, including, without limitation, assets, licenses and rights transferred to
Purchaser under any written agreement or other binding undertaking, or with regard to
Purchaser’s business, before any court, arbitration board or tribunal or administrative or other
governmental agency, nor does Purchaser believe that there is any basis for the foregoing.

7.      Survival; Indemnification; Limitation of Liability; No Consequential Damages

       7.1    The representations and warranties of each Party hereunder shall survive the
Closing and remain in effect for a period of one (1) year thereafter.

        7.2      Indemnification. The Seller, on the one side, and Purchaser on the other side (as
applicable, the “Indemnifying Party”) agree to indemnify and hold harmless the Parties of the
other side and their respective Affiliates (as applicable, the “Indemnified Parties”), against any
and all loss, liability, claim, damage and expense whatsoever (including, but not limited to, any
and all expenses whatsoever reasonably incurred in investigating, preparing or defending against
any litigation commenced or threatened or any claim whatsoever) arising out of or based upon
(a) any breach of any of such Party’s representations or warranties herein, misrepresentation or
warranty or breach or failure by the Indemnifying Party to comply with any covenants or


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agreement made by it herein, in the other Transaction Documents or in any other document
furnished by it to any of the foregoing in connection with this transaction and (b) any action for
securities law violations instituted by an Indemnifying Party which is finally resolved by
judgment against such Indemnifying Party.

        7.3     Mechanics of Indemnification. Whenever any claim arises for indemnification
under this Agreement or an event which may result in a claim for such indemnification has
occurred, the Indemnified Party(ies) will promptly notify the Indemnifying Party of the claim
and, when known, the facts constituting the basis for such claim. The Indemnifying Party shall
have the obligation to dispute and defend all such Third Party claims and thereafter so defend
and pay any adverse final judgment or award or settlement amount in regard thereto. Such
defense shall be controlled by the Indemnifying Party, and the cost of such defense shall be
borne by the Indemnifying Party, provided that the Indemnified Parties shall have the right to
participate in such defense at their own expense, unless the Indemnified Parties require their own
attorney due to a conflict of interest, in which case, the expense of a single law firm acceptable to
such Indemnified Party will be borne by the Indemnifying Party. The Indemnified Parties shall
cooperate in all reasonable respects in the investigation, trial and defense of any such claim at the
cost of the Indemnifying Party. If the Indemnifying Party fails to take action within thirty (30)
days of notice, then the Indemnified Parties shall have the right to pay, compromise or defend
any third party claim, such costs to be borne by the Indemnifying Party. The Indemnified Parties
shall also have the right and upon delivery of ten (10) days advance written notice to such effect
to the Indemnifying Party, exercisable in good faith, to take such action as may be reasonably
necessary to avoid a default prior to the assumption of the defense of the Third Party claim by
the Indemnifying Party, and any reasonable expenses incurred by the Indemnified Parties so
acting shall be paid by the Indemnifying Party. The Indemnifying Party will not settle or
compromise any Third Party claim without the prior written consent of the Indemnified Parties,
not to be unreasonably withheld.

        7.4      Purchaser Indemnification. Purchaser and ChanBond shall indemnify and hold
the Seller harmless with respect to any loss, expense, cost, damage and settlement (collectively,
“Indemnified Expenses”) caused to Seller as a result of Purchaser’s or ChanBond’s or its
Affiliates’ actions or omissions with respect to the Patents following the Closing Date, provided
Seller is not determined to responsible for such actions as a result of their fraud or intentional
misconduct. In particular, in the event that the enforcement or other activities with the Patents
results in litigation or other dispute resolution processes with one or more Third Parties, with
Seller being required to be involved or liable for the expenses arising through actions of
ChanBond (e.g., being added as a party to the process, even if such joinder is improper, or being
subject to Third Party discovery requests or otherwise having any exposure for any claims
arising through activities of ChanBond), Purchaser and ChanBond shall, at Seller’s request,
indemnify Seller all of Seller’s Indemnified Expenses arising from that involvement.

     7.5  Limitation of Liability. SELLER’S TOTAL LIABILITY UNDER THE
TRANSACTION DOCUMENTS WILL NOT EXCEED THE CASH CLOSING
CONSIDERATION ACTUALLY RECEIVED BY SELLER HEREUNDER. THE PARTIES
ACKNOWLEDGE THAT THIS LIMITATION ON POTENTIAL LIABILITIES WAS AN
ESSENTIAL ELEMENT IN SETTING CONSIDERATION UNDER THE TRANSACTION
DOCUMENTS.


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      7.6    Limitation on Consequential
                                q        Damages.
                                             g    NEITHER PARTY WILL HAVE ANY
OBLIGATION OR LIABILITY (WHETHER  (            IN CONTRACT,, WARRANTY,, TORT
((INCLUDING NEGLIGENCE)) OR OTHERWISE,, AND NOTWITHSTANDING ANY
 FAULT,,    NEGLIGENCE       (WHETHER
                             (              ACTIVE,,   PASSIVE  OR    IMPUTED),
                                                                             ),
 REPRESENTATION,, STRICT LIABILITY OR PRODUCT LIABILITY),          ), FOR ANY
 INCIDENTAL,, INDIRECT OR CONSEQUENTIAL
                                      Q           DAMAGES OR LOSS OF REVENUE,,
 PROFIT,, SAVINGS OR BUSINESS ARISING FROM OR OTHERWISE RELATED TO THIS
 AGREEMENT,, EVEN IF A PARTY OR ITS EMPLOYEES HAVE BEEN ADVISED OF THE
 POSSIBILITY OF SUCH DAMAGES.

8.       Miscellaneous

       8.1     Each of the Parties hereto shall perform such further acts and execute such further
documents as may reasonably be necessary to carry out and give full effect to the provisions of
the Transaction Documents and the intentions of the Parties as reflected thereby.

        8.2      Governing Law; Arbitration; Prevailing Party. This Agreement and all claims or
causes of action that may be based upon, arise out of or relate to this Agreement or the Collateral
Agreements will be construed in accordance with and governed by the internal laws of the State
of Texas applicable to agreements made and to be performed entirely within such State without
regard to conflicts of laws principles thereof. Any dispute arising under or in connection with
any matter of any nature (whether sounding in contract or tort) relating to or arising out of this
Agreement, shall be resolved exclusively by arbitration. The arbitration shall be in conformity
with and subject to the applicable rules and procedures of the American Arbitration Association.
The arbitration shall be conducted before a panel of three (3) arbitrators, with one arbitrator to be
selected by each of Seller and Buyer and the third arbitrator to be selected by the arbitrators
selected by the Parties. The Parties agree to be (a) subject to the exclusive jurisdiction and venue
of the arbitration in the Eastern District of Texas (b) bound by the decision of the arbitrator as the
final decision with respect to the dispute, and (c) subject to the jurisdiction of both of the federal
courts of the United States of America or the courts sitting in the Eastern District in the State of
Texas for the purpose of confirmation and enforcement of any award. The prevailing party in
any arbitration shall be entitled to recover its costs and expenses (including attorney’s fees and
expenses) from the non-prevailing party.

        8.3     Limitations on Assignment. Except as expressly permitted in this Section, none
of Purchaser or ChanBond may grant or assign any rights or delegate any duties under this
Agreement to any Third Party (including by way    y of a “change
                                                              g in control”) or may sell, transfer,
or spin-off any of the interests in ChanBond orr any of its material assets without
                                                                            w       the prior written
consent of Seller. Notwithstanding the foregoing, Purchaser shall be permitted to transfer or
assign) its rights, interests and obligations under this Agreement, as applicable, without Seller’s
prior written consent as part of a sale of all or substantially all of its business, equity to, or a
change in control transaction with a Third Party acquirer (an “M&A Transaction”, and an
“Acquirer,” respectively); provided that (a) such transfer or assignment is subject to all of the
terms and conditions of this Agreement; and (ii) such Acquirer executes a written undertaking
towards Seller agreeing to be bound by all of the terms and conditions of this Agreement with
respect to the rights being transferred or assigned. Except as otherwise expressly limited herein,



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the pprovisions hereof shall inure to the benefit of,, and be binding
                                                                    g upon, the successors, permitted
assigns, heirs, executors, and administrators of the Parties hereto.

        8.4    This Agreement and the Schedules hereto constitute the full and entire
understanding and agreement between the Parties with regard to the subject matters hereof and
thereof and any other written or oral agreement relating to the subject matter hereof existing
between the Parties are expressly canceled. Any term of this Agreement may be amended only
with the written consent of all Parties thereto. The observance of any term hereof may be waived
(either prospectively or retroactively and either generally or in a particular instance) only with
the written consent of the party against which such waiver is sought.

        8.5    All notices and other communications required or permitted hereunder to be given
to a Party to this Agreement shall be in writing and shall be faxed, emailed or mailed by
registered or certified mail, postage prepaid, or prepaid air courier, or otherwise delivered by
hand or by messenger, addressed to such Party’s address as set forth above; or at such other
address as the Party shall have furnished to each other Party in writing in accordance with this
provision. Any notice sent in accordance with this Section shall be effective (i) if mailed, seven
(7) business days after mailing, (ii) if by air courier two (2) business days after delivery to the
courier service, (iii) if sent by messenger, upon delivery, and (iv) if sent via facsimile or email,
upon transmission and electronic confirmation of receipt or (if transmitted and received on a
non-business day) on the first business day following transmission and electronic confirmation of
receipt (provided, however, that any notice of change of address shall only be valid upon
receipt).

       8.6     No delay or omission to exercise any right, power, or remedy accruing to any
Party upon any breach or default under this Agreement, shall be deemed a waiver of any other
breach or default theretofore or thereafter occurring. Any waiver, permit, consent, or approval of
any kind or character on the part of any Party of any breach or default under this Agreement, or
any waiver on the part of any Party of any provisions or conditions of this Agreement, must be in
writing and shall be effective only to the extent specifically set forth in such writing. All
remedies, either under this Agreement or by law or otherwise afforded to any of the Parties, shall
be cumulative and not alternative.

                                    [Signature Page Follows]




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                                                                JOINT EX. 223
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                                 SCHEDULE 1.3

                                     Contracts

1.   ChanBond, LLC – CBV, Inc. Patent Purchase Agreement dated April 9, 2015
2.   ChanBond, LLC – Bentham IMF Litigation Funding Agreement dated September 9, 2015
3.   ChanBond, LLC - IPNAV, LLC Advisory Services Agreement dated April 9, 2015
4.   ChanBond, LLC - Mishcon de Reya Retention Agreement dated April 20, 2015
5.   ChanBond, LLC - Bayard Law Engagement Agreement dated June 8, 2015
6.   ChanBond, LLC - Ascenda Law Group Engagement Agreement dated July 14, 2015




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                              SCHEDULE 2.2.3

              UnifiedOnline, Inc.’s Board of Directors Resolutions




                                                                     JOINT EX. 226
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                                 STATEMENT OF UNANIMOUS
                                CONSENT TO ACTION TAKEN IN
                                          LIEU OF A
                              SPECIAL MEETING OF THE BOARD OF
                                       DIRECTORS OF
                                     UNIFIEDONLINE, INC.

         In lieu of a special meeting of the board of directors (the “Board”) of UnifiedOnline, Inc., a
Delaware corporation (the “Corporation”), and in accordance with the Bylaws of the Corporation and
§141(f) of the General Corporation Law of the State of Delaware, the undersigned, being all of the
members of the Board, do hereby consent to the adoption of, and do hereby adopt, the following
resolutions and declare them to be in full force and effect as if they had been duly adopted at a
meeting of the Board, duly called, noticed and held:

         WHEREAS, the Board deems it to be in the best interests of the Corporation to enter into a
Purchase Agreement dated October 26, 2015 (the “Agreement”), in connection with the acquisition of
ChanBond, LLC (“ChanBond”), a Delaware limited liability company, the owner of that certain
portfolio of Intellectual Property, known as the “ChanBond” patent portfolio, more particularly
described as follows:
                The Corporation and CHANBOND agree to an acquisition by the
               Corporation of 100% of the membership interests of CHANBOND for
               consideration generally defined as: 44,700,000 shares of the common
               stock of the Corporation , plus a $5MM 5-Year No-Interest Promissory
               Note, with a Maturity Date of October 27, 2020..

        NOW, THEREFORE BE IT RESOLVED, that the Corporation is hereby authorized to
enter into the Agreement and the Note.

        FURTHER RESOLVED, that any executive officer of the Corporation be, and hereby
is authorized, empowered and directed, from time to time, to take such additional action and to
execute, certify and deliver to the transfer agent of the Corporation, as any appropriate or
proper to implement the provisions of the foregoing resolutions; and be it

        FURTHER RESOLVED, that this Consent may be executed in any number of counterparts,
each of which shall be deemed to be an original but all of which together will constitute one and the
same instrument, and that counterpart signature pages transmitted by facsimile transmission, by
electronic mail in portable document format (.pdf) or by any other electronic means intended to
preserve the original graphic and pictorial appearance of a document, shall have the same effect as
physical delivery of the paper document bearing an original signature.

       IN WITNESS WHEREOF, the undersigned members of the Board have executed this
Consent as of October 26, 2015.




Robert M. Howe, III




                                                                                         JOINT EX. 227
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                                      SCHEDULE 2.2.7

                                Common Interest Agreement

THIS COMMON INTEREST AGREEMENT (“Agreement”) is entered into as of April 9, 2015,
by and among ChanBond, LLC (the “Company”) having its principal offices at 2633
McKinney Avenue, Suite 130-501, Dallas, Texas 75204; UnifiedOnline, Inc.
(“UnifiedOnline”), having its principal offices at 4126 Leonard Drive, Fairfax, Virginia 22030;
and Deirdre Leane (“Leane”), located at 2525 Carlisle Street, Suite 439, Dallas, Texas 75201.




                                                                                JOINT EX. 228
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1.          Background.                                      attorney-client privilege, the work
                                                             product doctrine, or other applicable
 1.1.        Company, Unified and Leane are                  privilege or immunity with respect to the
        sometimes referred to herein as a “party”            Patent Matters.        Any counsel or
        or the “parties” and are presently                   consultant retained by a party or their
        negotiating the closing of an agreement              counsel to assist in the Patent Matters
        under which UnifiedOnline will purchase              shall be bound by, and entitled to the
        Company from Leane and continue to                   benefits of this Agreement.
        enforce and license patents and related
        rights owned by the Company “IP               2.2.        In order to further their common
        Rights” and the “Patent Matters”                     interest, the parties and their counsel may
        respectively).                                       exchange privileged and work product
                                                             information, orally and in writing,
 1.2.        The parties have a common legal                 including, without limitation, factual
        interest in upholding the validity and               analyses, mental impressions, legal
        enforceability of the IP Rights, for                 memoranda, source materials, draft legal
        purposes of enforcement. The parties                 documents, evidence of use materials,
        anticipate they will enforce inherent                claims charts, prosecution history files
        rights of the IP Rights against third                and other information (hereinafter
        parties through litigation. The parties              “Common Interest Materials”). The
        have agreed to treat their communications            sole purpose of the exchange of the
        and those of their counsel relating to the           Common Interest Materials is to support
        Patent Matters as protected by the                   the parties’ common interest with respect
        common interest doctrine. Furtherance                to the enforcement for the Patent Matters.
        of the Patent Matters requires the                   Any      Common        Interest    Materials
        exchange of proprietary documents and                exchanged shall continue to be protected
        information, the joint development of                under all applicable privileges and no
        legal strategies and the exchange of                 such exchange shall constitute a waiver
        privileged information and attorney work             of any applicable privilege or protection.
        product developed by the parties and                 Nothing in this Agreement requires a
        their respective counsel.                            party to share information with the other
                                                             party.
2.          Common Interest.
                                                     3.          Nondisclosure.
 2.1.        The parties have a common, joint
        and mutual legal interest in the              3.1.        The parties and their counsel shall
        monetization of valid and enforceable                use the Common Interest Materials solely
        patents. In furtherance of that common               in connection with the Patent Matters and
        interest, the parties will cooperate with            shall take appropriate steps to protect the
        each other, to the extent permitted by               privileged and confidential nature of the
        law, to share information protected by the           Common Interest Material. No party nor




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        their respective counsel shall produce           4.2.        Nothing in this Agreement affects
        privileged documents or information                     the     separate     and      independent
        unless or until directed to do so by a final            representation of each party by its
        order of a court of competent jurisdiction,             respective counsel or creates an attorney-
        or upon the prior written consent of the                client relationship between the counsel
        other party. No privilege or objection                  for a party and the other party to this
        shall be waived by a party hereunder                    Agreement.
        without the prior written consent of the
        other party.                                     4.3.        This Agreement shall continue until
                                                                terminated upon the written request of
 3.2.        Except as herein provided, in the                  either party. Upon termination, each
        event that either party or its counsel is               party and their respective counsel shall
        requested or required in the context of a               return any Common Interest Material
        litigation, governmental, judicial or                   furnished    by    the    other   party.
        regulatory investigation or other similar               Notwithstanding termination, this Agreement
        proceedings      (by     oral     questions,            shall continue to protect all Common Interest
                                                                Materials disclosed prior to termination. Sections
        interrogatories, requests for information
                                                                3 and 5 shall survive termination of this
        or      documents,     subpoenas,       civil           Agreement.
        investigative demands or similar process)
        to disclose any Common Interest                 5.           General Terms.
        Materials, the party or its counsel shall
        assert all applicable privileges, including,     5.1.        This Agreement is governed by the
        without limitation, the common interest                 laws of the State of Delaware, without
        doctrine, and shall immediately inform                  regard to its choice of law principles to
        the other party and the other party’s                   the contrary. In the event any provision
        counsel of the request or requirement to                of the Agreement is held by any court of
        disclose.                                               competent jurisdiction to be illegal, void
                                                                or unenforceable, the remaining terms
4.         Relationship; Additions;                             shall remain in effect. Failure of either
     Termination.                                               party to enforce any provision of this
                                                                Agreement shall not be deemed a waiver
 4.1.        This Agreement does not create any                 of future enforcement of that or any other
        agency or similar relationship among the                provision.
        parties.    Through the term of the
        agreement between the parties, or any            5.2.        The parties agree that a breach of
        other agreement requiring confidentiality,              this Agreement would result in
        (whichever term is longer), no party nor                irreparable injury, that money damages
        their respective counsel has the authority              would not be a sufficient remedy and that
        to waive any applicable privilege or                    the disclosing party shall be entitled to
        doctrine on behalf of any other party.                  equitable relief, including injunctive
                                                                relief, as a non-exclusive remedy for any




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                        such breach.

                 5.3.        Notices given under this Agreement
                        shall be given in writing and delivered by
                        messenger or overnight delivery service
                        as set forth below, and shall be deemed to
                        have been given on the day received:

                        ChanBond, LLC
                        2633 McKinney Avenue
                        Suite 130-501
                        Dallas, TX 75204

                        UnifiedOnline, Inc.
                        4126 Leonard Drive
                        Fairfax, VA 22030

                        Deirdre Leane
                        2525 Carlisle Street
                        Suite 439
                        Dallas, TX 75201

                 5.4.        This Agreement is effective and
                        binding upon each party as of the date it
                        is signed by or on behalf of a party and
                        may be amended only by a writing signed
                        by or on behalf of each party. This
                        Agreement may be executed in
                        counterparts. Any signature reproduced
                        or transmitted via email of a .pdf file,
                        photocopy, facsimile or other process of
                        complete and accurate reproduction and
                        transmission shall be considered an
                        original for purposes of this Agreement.




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                  intentionally left blank.**




                                                                          JOINT EX. 231
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                             SCHEDULE 2.2.8

                             Promissory Note




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THE SECURITIES REPRESENTED HEREBY HAVE NOT BEEN REGISTERED
UNDER THE SECURITIES ACT OF 1933, AS AMENDED, OR APPLICABLE STATE
SECURITIES LAWS. THE SECURITIES MAY NOT BE OFFERED FOR SALE, SOLD,
TRANSFERRED OR ASSIGNED (I) IN THE ABSENCE OF (A) AN EFFECTIVE
REGISTRATION STATEMENT FOR THE SECURITIES UNDER THE SECURITIES
ACT OF 1933, AS AMENDED, OR APPLICABLE STATE SECURITIES LAWS OR (B)
AN OPINION OF COUNSEL, IN A GENERALLY ACCEPTABLE FORM, THAT
REGISTRATION IS NOT REQUIRED UNDER SAID ACT OR APPLICABLE STATE
SECURITIES LAWS OR (II) UNLESS SOLD PURSUANT TO RULE 144 UNDER SAID
ACT. NOTWITHSTANDING THE FOREGOING, THE SECURITIES MAY BE
PLEDGED IN CONNECTION WITH A BONA FIDE MARGIN ACCOUNT OR OTHER
LOAN OR FINANCING ARRANGEMENT SECURED BY THE SECURITIES. ANY
TRANSFEREE OF THIS NOTE SHOULD CAREFULLY REVIEW THE TERMS OF
THIS NOTE. THE PRINCIPAL AMOUNT REPRESENTED BY THIS NOTE MAY BE
LESS THAN THE AMOUNTS SET FORTH ON THE FACE HEREOF.

                                      UNIFIEDONLINE, INC.

                                       PROMISSORY NOTE

Principall Amount: $5,000,000                                Original Issuance Date: October 27, 2015

FOR VALUE RECEIVED UnifiedOnline, Inc., a Delaware corporation (the “Company”),
promises to pay to Deirdre Leane, an individual, of 2525 Carlisle St., Suite 439, Dallas, TX
75201 (the “Holder”) an aggregate principal amount of Five Million Dollars ($5,000,000.00)
(representing the Cash Payment as provided for and defined in the Interest Sale Agreement dated
as of the date hereof (the “Interest Sale Agreement”), to which the Company and the Holder are
parties) payable on or prior to October 27, 2020 (the “Maturity   y Date”),), pprovided,, however,, that if
this Note is not paid
                 p     in full byy the Maturity
                                              y Date,, the aggregate
                                                             gg g      pprincipal
                                                                                p amount of this Note
shall be increased by Twenty  y Five Thousand Dollars (($25,000.00)
                                                               ,      ) for each month such payment
is delayed (or pro rata portion thereof) until paid in full (the “New Principal Balance”).
                                                                                    Balance”

       The following is a statement of the rights of the Holder of this Note and the conditions to
which this Note is subject, and to which the Holder, by the acceptance of this Note, agrees:

        1.      Event of Default.

                (a)     For purposes of this Note, an “Event of Default” means:

                        (i)     the Company shall default in the payment of principal on this Note
        on or prior to the applicable Maturity Date; or

                       (ii)   the Company shall be in breach of any obligation, covenant or
        representation made in this Note or the Interest Sale Agreement; or

                        (iii)  the Company shall (a) become insolvent; (b) dissolve or terminate
        its existence; (c) admit in writing its inability to pay its debts generally as they mature;
        (d) make an assignment for the benefit of creditors or commence proceedings for its



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       dissolution; or (e) apply for or consent to the appointment of a trustee, liquidator, receiver
       or similar official for it or for a substantial part of its property or business; or

                      (iv)    a trustee, liquidator or receiver shall be appointed for the Company
       or for a substantial part of its property or business without its consent and shall not be
       discharged within thirty (30) days after such appointment; or

                      (v)     any governmental agency or any court of competent jurisdiction at
       the insistence of any governmental agency shall assume custody or control of the whole
       or any substantial portion of the properties or assets of the Company and shall not be
       dismissed within thirty (30) days thereafter; or

                       (vi)    bankruptcy, reorganization, insolvency or liquidation proceedings
       or other proceedings, or relief under any bankruptcy law or any law for the relief of debt
       shall be instituted by or against the Company and, if instituted against the Company shall
       not be dismissed within thirty (30) days after such institution, or the Company shall by
       any action or answer approve of, consent to, or acquiesce in any such proceedings or
       admit to any material allegations of, or default in answering a petition filed in any such
       proceeding.

Upon the occurrence of an Event of Default, the entire unpaid and outstanding indebtedness due
under this Note shall be immediately due and payable without notice and Holder shall be entitled
to such additional rights and remedies as are provided by law.

Until the Note is paid in full, the Company shall be obligated to make payments on this Note to
the Holder from 100% of any Net Revenues (as defined below) within thirty (30) calendar days
after each calendar month commencing with the calendar month ending October 31, 2015.

“Net Revenues” shall mean the total aggregate Gross Recoveries less the total aggregate amount
of costs and expenses - incurred by or on behalf of the Company in connection with the
monetization, enforcement and/or sale of the Assigned Patent Rights of the ChanBond, LLC
patent portfolio (described in Exhibit A) - which are exclusively limited to: (a) the reasonable
fees and expenses of litigation counsel; (b) the reasonable fees and expenses of licensing counsel
(c) the reasonable fees and expenses of any re-examination or other patent prosecution counsel;
(d) reasonable expert fees, court costs, deposition costs and other reasonable costs and expenses
related to the maintenance, prosecution, enforcement, and licensing of the Patents; and (e) the
reasonable fees and expenses of any other advisors or agents which the Parties mutually agree
are required and the repayment of litigation financing.

Notwithstanding anything to the contrary contained in this Note, in no event shall the total of all
charges payable under this Note, which are or could be held to be in the nature of interest exceed
the maximum rate permitted to be charged under applicable law. Should the Holder receive any
payment which is or would be in excess of that permitted to be charged under any such
applicable law, such payment shall have been, and shall be deemed to have been, made in error
and shall automatically be applied to reduce the principal balance outstanding on this Note.




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                 (b)     As soon as possible and in any event within two days after the Company
becomes aware that an Event of Default has occurred, the Company shall notify the Holder in
writing of the nature, extent and time of and the facts surrounding such Event of Default, and the
action, if any, that the Company proposes to take with respect to such Event of Default.

       2.     Prepayment. The Company may prepay this Note at any time, in whole or in part,
without penalty or premium.

       3.      Miscellaneous.

               (a)    Loss, Theft, Destruction or Mutilation of Note. Upon receipt of evidence
reasonably satisfactory to the Company of the loss, theft, destruction or mutilation of this Note
and delivery of an indemnity agreement reasonably satisfactory in form and substance to the
Company and, in the case of mutilation, on surrender and cancellation of this Note (or what
remains thereof), the Company shall execute and deliver, in lieu of this Note, a new note
executed in the same manner as this Note, in the same principal amount as the unpaid principal
amount of this Note and dated the date of this Note.

               (b)    Payment. All payments under this Note shall be made in lawful tender of
the United States no later than 5:30 pm, Eastern Standard Time, on the date on which such
payment is due, by wire transfer of immediately available funds to the account identified by the
Holder. Time is of the essence as to all dates set forth herein, provided, however, that whenever
any payment to be made under this Note shall be stated to be due on a Saturday, Sunday or a
public holiday, or the equivalent for banks generally under the laws of the State of New York
(any other day being a “Business Day”), such payment may be made on the next succeeding
Business Day and such extension of time shall be included in the computation of the payment of
interest.

              (c)      Waivers. The Company hereby waives notice of default, presentment or
demand for payment, protest or notice of nonpayment or dishonor and all other notices or
demands relative to this instrument.

              (d)    Waiver and Amendment. Any provision of this Note may be amended,
waived or modified only by an instrument in writing signed by the party against which
enforcement of the same is sought.

               (e)     Notices. Any notice or other communication required or permitted to be
given hereunder shall be in writing sent by mail, facsimile with printed confirmation, nationally
recognized overnight carrier or personal delivery and shall be effective upon actual receipt of
such notice, to the following addresses until notice is received that any such address or contact
information has been changed:

       To the Company:

       UnifiedOnline, Inc.
       4126 Leonard Drive
       Fairfax, VA 22030



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       To the Holder:

       Deirdre Leane
       2525 Carlisle St.
       Suite# 439
       Dallas, TX 75201


               (f)     Expenses; Attorneys’ Fees. If action is instituted to enforce or collect this
Note, the Company promises to pay or reimburse all reasonable costs and expenses, including,
without limitation, reasonable attorneys’ fees and costs, incurred by the Holder in connection
with such action.

                (g)    Successors and Assigns. This Note may not be assigned or transferred by
the Company without the express written consent of the Holder. This Note may only be assigned
or transferred by Holder subject to applicable securities laws. Subject to the preceding sentence,
the rights and obligations of the Company and the Holder of this Note shall be binding upon and
benefit the successors, permitted assigns, heirs, administrators and permitted transferees of the
parties.

               (h)    No Waiver; Cumulative Remedies. No failure to exercise and no delay in
exercising on the part of the Holder, any right, option, remedy, power or privilege hereunder
shall operate as a waiver thereof, nor shall any single or partial exercise of any right, option,
remedy, power or privilege hereunder preclude any other or further exercise thereof or the
exercise of any other right, option, remedy, power or privilege. The rights, options, remedies,
powers and privileges herein provided are cumulative and not exclusive of any rights, options,
remedies, powers and privileges provided by law.

           (i)  Governing Law; Jurisdiction. THE PARTIES HEREBY AGREE THAT
THIS NOTE IS MADE AND ENTERED INTO IN THE STATE OF DELAWARE AND
FURTHER AGREE THAT ALL ACTS REQUIRED BY THIS NOTE AND ALL
PERFORMANCE HEREUNDER ARE INTENDED TO OCCUR IN THE STATE OF
DELAAWARE. THIS NOTE SHALL BE GOVERNED BY, AND CONSTRUED IN
ACCORDANCE WITH, THE INTERNAL LAWS OF THE STATE OF DELAWARE
WITHOUT REFERENCE TO PRINCIPLES OF CONFLICTS OF LAWS. EACH PARTY
HERETO HEREBY IRREVOCABLY SUBMITS TO THE EXCLUSIVE PERSONAL AND
SUBJECT MATTER JURISDICTION OF THE STATE OR FEDERAL COURTS OF THE
STATE OF DELAWARE OVER ANY SUIT,, ACTION OR PROCEEDING ARISING OUT OF
OR RELATING TO THIS NOTE. EACH PARTY HEREBY IRREVOCABLY WAIVES TO
THE FULLEST EXTENT PERMITTED BY LAW,, (A)      ( ) ANY OBJECTION THAT THEY
MAY NOW OR HEREAFTER HAVE TO THE VENUE OF ANY SUCH SUIT, ACTION OR
PROCEEDING BROUGHT IN ANY SUCH COURT; AND (B) ANY CLAIM THAT ANY
SUCH SUIT, ACTION OR PROCEEDING HAS BEEN BROUGHT IN AN INCONVENIENT
FORUM. FINAL JUDGMENT IN ANY SUIT, ACTION OR PROCEEDING BROUGHT IN
ANY SUCH COURT SHALL BE CONCLUSIVE AND BINDING UPON EACH PARTY
DULY SERVED WITH PROCESS THEREIN AND MAY BE ENFORCED IN THE COURTS
OF THE JURISDICTION OF WHICH EITHER PARTY OR ANY OF THEIR PROPERTY IS


                                                 4

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SUBJECT, BY A SUIT UPON SUCH JUDGMENT. THE PARTIES HEREBY WAIVE ANY
AND ALL RIGHTS TO TRIAL BY JURY.




IN WITNESS WHEREOF, the Company has caused this Note to be executed as of the date first
above written by its duly authorized officer.

                                                UNIFIEDONLINE, INC.

                                                By:
                                                      Name: Robert M. Howe III
                                                      Title: CEO




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 29087977v.2

                                                                            JOINT EX. 238
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                                         EXHIBIT A




                                  Intelligent device system and method for distribution of digital
US Patent No. 7346918
                                  signals on a wideband signal distribution system

                                  Intelligent device system and method for distribution of digital
US Patent No. 7941822
                                  signals on a wideband signal distribution system

                                  Intelligent device system and method for distribution of digital
US Patent No. 8341679
                                  signals on a wideband signal distribution system

                                  Intelligent device system and method for distribution of digital
US Patent No. 8984565
                                  signals on a wideband signal distribution system

                                  Intelligent device system and method for distribution of digital
US Patent No. 9015774
                                  signals on a wideband signal distribution system

US Application No. 13/799,749
                                  Intelligent device system and method for distribution of digital
October 10, 2013*
                                  signals on a wideband signal distribution system

US Application No. 14/167,289
                                  Intelligent device system and method for distribution of digital
Filed January 29, 2014
                                  signals on a wideband signal distribution system

US Application - 10/346,571
(Abandoned – CIP of 09/824,531)

US Application - 09/824,531
(Abandoned – CIP of 7346918)

PCT/US2001/049629 (Expired – no
national phase)

PCT/US2002/009863 (Expired – no
national phase)



*Publication Date




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                                                                                     JOINT EX. 239
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                                            SCHEDULE 3.3

                                          Company Agreements




                                                                JOINT EX. 240
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                                 SCHEDULE 5.1(b)


                                  Pending Litigation

  1. ChanBond, LLC v. WaveDivision Holdings, LLC, Civil Case No. 1:15-cv-00853
  2. ChanBond, LLC v. Comcast Corporation et al, Civil Case No. 1:15-cv-00848
  3. ChanBond, LLC v. Charter Communications, Inc., Civil Case No. 1:15-cv-00847
  4. ChanBond, LLC v. WideOpen West Finance, LLC, Civil Case No. 1:15-cv-00854
  5. ChanBond, LLC v. Cequel Communications, LLC, Civil Case No. 1:15-cv-00846
  6. ChanBond v. RCN Telecom Services, LLC, Civil Case No. 1:15-cv-00851
  7. ChanBond v. Cox Communications, Inc. et al, Civil Case No. 1:15-cv-00849
  8. ChanBond v. Time Warner Cable Inc. et al, Civil Case No. 1:15-cv-00852
  9. ChanBond v. Mediacom Communications Corporation, Civil Case No. 1:15-cv-00850
  10. ChanBond v. Bright House Networks, LLC, Civil Case No. 1:15-cv-00843
  11. ChanBond v. Cablevision Systems Corporation et al, Civil Case No. 1:15-cv-00845
  12. ChanBond v. Cable One, Inc., Civil Case No. 1:15-cv-00844
  13. ChanBond v. Atlantic Broadband Group, LLC, Civil Case No. 1:15-cv-00842




                                                                        JOINT EX. 241
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                             SCHEDULE 6.3

                            Capitalization Table




                                                                JOINT EX. 242
                                                                                                                                                                                       ǆŚŝďŝƚ

                          UnifiedOnline, Inc. - 6,000,000,000 authorized shares
                          Cap Table (10.26.15)
                          Common Stock                                              Current            Own %          Series      $0.00750    $   12.000   $   60.000    Total        Expiration Date
                          Restricted                                                 904,088,389       99.0%              N     205,805,872                             205,805,872      09/30/16
                          Float                                                        8,809,148        1.0%              O                       68,452                     68,452      11/23/16
                                                                                                                          Q                        7,770                      7,770      02/08/17
                                                                              Common shares O/S         912,897,537       R                                    37,004        37,004      06/30/17
                                                            Warrants                                                    Total   205,805,872       76,222       37,004   205,919,098
                               $ value if converted         Exercise Price          Shares
                           $                1,543,544         $0.00750              205,805,872
                           $                  914,664         $12.000                    76,222
                           $                2,220,240         $60.000                    37,004

                           $               4,678,448                            Total Warrants          205,919,098

                          Vested                            Stock Options             O/S

                                                                                            7,232



                                                    0                         Total O/S Options               7,232

                          Preferred Stock - Series B                                                          1,567
                          Preferred Stock - Series AA (0 shares)
                                                                                                                                                                                                                  Case 3:20-cv-03097-B Document 30-4 Filed 11/02/20




                          Fully Diluted Shares before convertible debt                                1,118,825,434


                                                                               At prevailing share
                          Convertible debt                                            price        Conversion Price
                          Tangiers                      $            68,750            13,750,000       22,916,667
                          JMJ                           $            30,500             6,100,000       10,166,667
                          KBM                           $            53,232            10,646,394       18,234,290
                          Vis Vires                     $            34,100             6,820,000       11,680,749
                                                        $           186,582            37,316,394       62,998,372


                          Fully Diluted Shares after convertible debt                                 1,181,823,806
                                                                                                                                                                                                                  Page 34 of 35 PageID 1276




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                Capital table 10.26.15 Full Cap Table 10-26-2015                                                      Page 1                                                                 10/26/2015 8:52 PM
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                                       SCHEDULE 6.8

                                          Judgments


1. Two judgments held by FedEx being pursued in the General District Court of Fairfax
   County, Virginia; and the Circuit Court of Fairfax County, Virginia, respectively:

   FedEx Customer Information Services, Inc. vs. Iceweb Storage Corporation fka Inline
   Corporation, In the Circuit Court of Fairfax County, Virginia, Case No. CL2010-7512 –
   Judgment awarded $16,321.66 plus interest and costs.

   FedEx Customer Information Services, Inc. vs. Iceweb, Inc., In the General District Court of
   Fairfax County, Virginia, Case No. GV10-023543-00 – Judgment awarded $12,900.95 plus
   $58 in costs.

2. Judgment held by i-Cubed:

   i-Cubed information, integration and imagins, LLC aka i-Cubed, information, integration
   and imagins, LLC vs. Iceweb Storage Corporation, in the General District Court of Fairfax
   County, Case No. GV12-019582-00 – Judgment awarded of $12,920.60, plus interest and
   costs.

3. Judgment held by Pellegrino and Associates:

   Pellegrino and Associates vs. Iceweb, Inc., in the Marion County Superior Court No. 12,
   Marion County, Indiana, Case No. 49D12-1408-CC-2714 – Judgment awarded of $20,158.73
   plus interest and costs.




                                                                                 JOINT EX. 244
